Washington State Courts - Error

				
		
	
			
		&nbsp;Washington Courts Home
				
			Search
			&nbsp;| &nbsp;Site Map
			&nbsp;|&nbsp;eService Center 
		
	
Washington State Courts
You have encountered an Error.
There was either a problem on the website, or you  have requested a page that does not exist or is no longer available on our web site. 

If you are searching for a page which used to be available, or if you have discovered a link that is broken, please let us know. 

You may be able to find an alternate page by Searching the Site, or by reviewing the Site Map.



			
				
			&nbsp;Courts&nbsp;|&nbsp;Organizations&nbsp;|&nbsp;News&nbsp;|&nbsp;Opinions&nbsp;|&nbsp;Rules&nbsp;|&nbsp;Forms&nbsp;|&nbsp;Directory&nbsp;|&nbsp;Library&nbsp;
		
	